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AO 440(Rev. 06/12) Summons in a Civil Action


                                    UNITED STATES DISTRICT COURT
                                                           for the
                                                 Central District of California Q

                       ZHOIE PEREZ




                           Plaintiffs)
                                                                                                           Vw ~S
                    v.                                               Civil Action No.
CITY OF LOS ANGELES, OFFICER RIGS, OFFICER
    WALKER, CLAUDE JABSI, JOHN DOE ~6



                          Defendants)


                                               SUMMONS IN A CIVIL ACTION
                                     OFFICER WALKER
To: (Defendant's name and address)
                                     12312 CULVER BLVD.
                                     LOS ANGELES CA 90066




         A lawsuit has been filed against you.

         Within 21 days after service of this siunmons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12(a)(2) or(3)—you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:
                                ZHOIE PEREZ
                                14926 TEMPLAR DRIVE
                                LA MIRADA CA 90638




       If you fail to respond,judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.                                                   __

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                                                                       CLERK OF CO R                           "`
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Date:            ~           —     Z ~/
                                                                                 . ignature ofClerk or Deputy ~j~~k
       Case 2:22-cv-08227-SVW-AS Document 3-2 Filed 11/10/22 Page 2 of 2 Page ID #:20

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Civil Action No.

                                                PROOF OF SERVICE
                  (This section should not befled with the court unless required by Fed R. Ciu P. 4(l))

          This Sutnlnons for(name ofindividual and title, ifany)

was received by me on (date)

          ~ I personally served the summons on the individual at(lace)
                                                                                 on (date)                           ; or

          ~ I left the summons at the individual's residence or usual place of abode with (fame)
                                                                   a person of suitable age and discretion who resides there,
          on (date)                             ,and mailed a copy to the individual's last known address; or

          ~ I served the summons on (name ofindividual)                                                                        who is
           designated by law to accept service of process on behalf of(name o}'organiZation)
                                                                                on (date)                             or

          I~ I returned the summons unexecuted because                                                                             or

          ~ Other (specify):




          My fees are $                         for travel and $                     for services, for a total of$          0.00


          I declare under penalty of perjury that this information is true.



Date
                                                                                             Server's signature



                                                                                        Printed name and title




                                                                                             Server's address


Additional information regarding attempted service, etc:
